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                        United States District Court for
                        The Southern District of Texas

                                                   File Number 4 : 18-cv-02869

John Hancock Life Ins. Co. , §
                              §
Plaintiff                     §
                              §
V.                            §        Notice of Appeal
                              §
The Estate of Jennifer        §
Lauren Wheatley, et al.       §
                              §
Defendants                    §

       Defendant/Counter-Plaintiff /Cross-Claimant/Cross-Defendant

Jeremy G. Ward and Intervenor-Defendant Annie R. Hall give notice they

are appealing to the United States Circuit Court for the Fifth Circuit from the

Memorandum and Order entered in this case November 13, 2019.

Respectfully submitted,




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